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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,                   )
                                             )
                          Plaintiff,         )                    CRIMINAL ACTION
                                             )                    No. 12-20141-18-KHV
 v.                                          )
                                             )                    CIVIL ACTION
 CHRISTOPHER CRAIG,                          )                    No. 17-2161-KHV
                                             )
                          Defendant.         )
 ____________________________________________)

                                MEMORANDUM AND ORDER

        This matter is before the Court on defendant Christopher Craig’s pro se Motion To Vacate

 Under 28 U.S.C. § 2255 (Doc. #1009) filed March 16, 2017. On June 26, 2017, the United States

 filed its response to defendant’s motion. Response To Motion (Doc. #1021). For reasons stated

 below, the Court overrules defendant’s motion and denies a certificate of appealability.

                                       Factual Background

        The Tenth Circuit Court of Appeals summarized defendant’s relevant criminal conduct as

 follows:

               The overarching conspiracy in which Defendant was involved operated in the
        Kansas City area and lasted from January 2006 until December 2012. Two men,
        Gregory Moore and Daniel Bryant, headed the conspiracy with the general purpose
        of distributing marijuana, cocaine, and cocaine base around the Kansas City
        metropolitan area. Defendant and others helped allocate these substances at Moore’s
        and Bryant’s direction.

               After several encounters with law enforcement officers throughout the six
        years the conspiracy operated, defendant’s most significant criminal foray came in
        August 2012 when he organized the attempted robbery of rival drug-dealer Brandon
        Campbell. He recruited two cousins, DaRyan Pryor and Arterrius Pryor, to actually
        commit the robbery. Defendant drove DaRyan and Arterrius to an apartment
        complex in south Kansas City, gave them guns and T-shirts to wear as face masks,
        and remained in the driver’s seat of his vehicle and watched while the two men
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        attempted to rob Campbell in the parking lot of the complex. In the midst of the
        robbery attempt, Campbell drew his gun and shot DaRyan. DaRyan later died from
        his wounds.

 United States v. Craig, 808 F.3d 1249, 1251-52 (10th Cir. 2015). On November 20, 2013, a grand

 jury returned a 27-count indictment which charged defendant with conspiring to manufacture, to

 possess with intent to distribute, and to distribute five kilograms or more of cocaine, 280 grams or

 more of cocaine base and marijuana, and maintaining a drug involved premises in violation of

 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1), 846, 856 (Count 1) and two counts of using a

 communication      facility   to   facilitate   a    drug     trafficking   crime   in   violation   of

 21 U.S.C. § 843(d) (Counts 15 and 16). Second Superseding Indictment (Doc #439) at 4, 8.

        On February 3, 2014, the day trial was scheduled to begin, defendant pled guilty to all three

 counts without a written plea agreement. Petition To Enter Plea Of Guilty And Order Entering

 Plea (Doc. #560); Transcript Of Change Of Plea Hearing (Doc. #874) filed November 20, 2014.

 After his plea, defendant faced a statutory minimum of ten years and maximum of life in prison

 under 21 U.S.C. § 841(b)(1)(A). When calculating his offense level, the Court applied a murder

 cross-reference under United States Sentencing Guidelines (“U.S.S.G.”) § 2D1.1(d) for the death

 of DaRyan, a leadership role enhancement under U.S.S.G. § 3B1.1(a) and an obstruction of justice

 enhancement under U.S.S.G. § 3C1.2. Presentence Investigation Report (“PSIR”) (Doc. #777) filed

 July 11, 2014, ¶¶ 73-86. The Court found that his final offense level was 43, for a guideline

 sentence of life in prison. Id., ¶ 128. On August 28, 2014, the Court sentenced defendant to life in

 prison. See Minute Entry (Doc. #804) filed August 28, 2014. Bruce R. Kips represented defendant

 during his plea negotiations and sentencing. Motion To Vacate (Doc. #1009) at 10.


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           Defendant appealed his sentence and judgment. Notice Of Appeal (Doc. #807) filed

 September 4, 2014. On appeal, he argued that the Court erred when it sentenced him beyond the

 40-year statutory maximum for the drug quantity which the PSIR attributed to him (Ground 1);

 applied the murder cross-reference (Ground 2); applied the leadership enhancement (Ground 3);

 applied the obstruction of justice enhancement (Ground 4) and imposed a substantively unfair

 sentence (Ground 5). See Craig, 808 F.3d at 1254 n.5, 1255, 1259-61. Defendant withdrew Ground

 1 at oral argument. Id. at 1254 n.5. The Tenth Circuit affirmed the Court’s sentence and judgment.

 See id.

           On March 16, 2017, defendant filed a pro se motion to vacate his sentence under

 28 U.S.C. § 2255. Motion To Vacate (Doc. #1009). Defendant asserts that the Court erred when

 it sentenced him beyond the statutory maximum based on facts not found by a jury (Claim 1);

 applied the murder cross-reference (Claim 2) and applied the leader enhancement (Claim 3).

 Defendant also argues that Kips provided ineffective assistance of counsel because he failed to

 object to the mandatory statutory sentencing range (Claim 4); failed to relay one of defendant’s

 counter-offers to the government during plea negotiations (Claim 5); lied to defendant’s family

 about his sentence (Claim 6) and failed to investigate defendant’s competency (Claim 7).1




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                Although defendant’s motion describes Claims 1 through 3 as prosecutorial
misconduct, the Court construes them as claims of judicial error because defendant asserts that the
Court – not the prosecution – erred. Motion To Vacate (Doc. #1009) at 4-6. Defendant has not
alleged sufficient facts to establish prosecutorial misconduct. See Donnelly v. DeChristoforo, 416
U.S. 637, 643 (1974) (to warrant relief, misconduct must make defendant’s conviction a denial of
due process).

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                                               Analysis

        The Court applies a stringent standard of review when analyzing Section 2255 petitions. The

 Court presumes that the proceedings which led to defendant’s conviction were correct. See Klein

 v. United States, 880 F.2d 250, 253 (10th Cir. 1989).

 I.     Judicial Error

        A.      Insufficient Findings For Statutory Sentencing Range

        Defendant argues that the Court violated his Sixth Amendment rights because it sentenced

 him beyond the statutory maximum and based his sentence on facts a jury did not find beyond a

 reasonable doubt. Motion To Vacate (Doc. #1009) at 4.

        Defendant raised this claim on direct appeal.           See Brief of Appellant at 11-14,

 2015 WL 1138181. Defendant argued that neither the factual basis of his plea nor the PSIR found

 that he met the drug quantity threshold – five kilograms or more of cocaine or 280 grams or more

 of cocaine base – for Section 841(b)(1)(A). Id. at 12. He contended that the Court therefore should

 have sentenced him under Section 841(b)(1)(B), which has a lower drug quantity threshold and a

 statutory maximum sentence of 40 years Id. Appellate counsel withdrew this claim during oral

 argument on appeal, and the Tenth Circuit did not rule on it. See Craig, 808 F.3d at 1254 n.5.

        The government asserts that defendant’s claim is barred because he already pursued this

 issue on appeal. Response To Motion (Doc. #1021) at 4-7. Defendant may not use Section 2255

 motions to test the legality of matters which should have been raised on appeal. United States v.

 Bolden, 472 F.3d 750, 751-52 (10th Cir. 2006). Section 2255 precludes defendant from raising

 issues not addressed in his direct appeal, unless he can show (1) cause and actual prejudice resulting


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 from the alleged errors or that (2) a fundamental miscarriage of justice will occur if the claims are

 not addressed. Bousley v. United States, 523 U.S. 614, 622 (1998). To establish cause, defendant

 must “show some external objective factor – such as governmental interference, unavailability of

 the relevant factual or legal basis or ineffective assistance of counsel – prevented [him] from raising

 the issue on direct appeal.” United States v. Torres-Laranega, 473 F. App’x 839, 842 (10th Cir.

 2012). Alternatively, defendant can establish a fundamental miscarriage justice by showing actual

 innocence. Id. Defendant does not assert either cause and prejudice or a fundamental miscarriage

 of justice. Thus, defendant’s claim is procedurally barred.

         Even if defendant could overcome this procedural default, his claim fails on its merits

 because he admitted the drug quantity which formed the basis for his conviction and sentence under

 Section 841(b)(1)(A). At the time of his guilty plea to Count 1, the following colloquy occurred:

        THE COURT: Do you understand that by entering this plea of guilty, you’re giving
        up your right to a trial on this charge?

        THE DEFENDANT: Yes.

        THE COURT: And not only that, you’re admitting all of the facts contained in the
        charge.

        THE DEFENDANT: Yes.

 Transcript Of Change Of Plea Hearing (Doc. #874) filed November 20, 2014 at 18. Among other

 things, Count 1 charged that defendant was accountable for “the reasonably foreseeable conduct of

 other members of the conspiracy charged in Count One, [which] involved 280 grams or more of

 . . . cocaine base . . . in violation of Title 21, United States Code, Section 841(b)(1)(A)(iii).” Second

 Superseding Indictment (Doc. #429) at 3.                By his own admission, defendant violated


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 Section 841(b)(1)(A). The Court did not need to rely on the factual basis of his plea or the PSIR’s

 “conservative estimates” to determine defendant’s drug quantity. See Petition To Enter Plea Of

 Guilty (Doc. #560), ex. 1; Presentence Investigation Report (Doc. #777), ¶ 65. Because defendant

 admitted that his drug quantity met Section 841(b)(1)(A)’s threshold, a jury did not need to find this

 fact beyond a reasonable doubt. United States v. Booker, 543 U.S. 220, 244 (2005) (facts supporting

 sentence must be admitted by defendant or proved to jury beyond reasonable doubt). The Court did

 not err when it imposed a life sentence, within the statutory range of Section 841(b)(1)(A).

        B.        Murder Cross-Reference And Leadership Enhancement (Claims 2 and 3)

        Defendant argues that the Court violated his Fifth and Sixth Amendment rights when it

 applied the murder cross-reference and the leadership enhancement. Motion To Vacate (Doc. #1009)

 at 5-6. On direct appeal, defendant challenged his sentence on the same grounds. See Craig, 808

 F.3d at 1254-55, 1258.

        Generally, courts do not entertain Section 2255 claims that have already been rejected on

 direct review. See Foster v. Chatman, 136 S. Ct. 1737, 1758 (2016). “Absent an intervening change

 in the law of a circuit, issues disposed of on direct appeal generally will not be considered on a

 collateral attack by a motion pursuant to [Section] 2255.” United States v. Prichard, 875 F.2d 789,

 791 (10th Cir. 1989). Defendant does not assert a change in circuit precedent or any other grounds

 for disturbing the Tenth Circuit rulings on direct appeal. Accordingly, the Court denies relief on

 these grounds.




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 II.    Ineffective Assistance Claims (Claims 4-7)

        To establish ineffective assistance of counsel, defendant must show that the performance of

 counsel was (1) deficient and (2) caused prejudice – a reasonable probability that but for counsel’s

 unprofessional errors, the result of the proceeding would have been different. Strickland v.

 Washington, 466 U.S. 668, 687, 694 (1984). To establish deficient performance, defendant must

 prove that counsel “made errors so serious that counsel was not functioning as the ‘counsel’

 guaranteed the defendant by the Sixth Amendment.” Id. at 687. In other words, defendant must

 prove that counsel performed “below an objective standard of reasonableness.” United States v.

 Walling, 982 F.2d 447, 449 (10th Cir. 1992). The Supreme Court recognizes “a strong presumption

 that counsel’s conduct falls within the wide range of reasonable professional assistance.” Strickland,

 466 U.S. at 689; see United States v. Rantz, 862 F.2d 808, 810 (10th Cir. 1988). The Court may

 determine the second element, prejudice, before analyzing counsel’s performance. United States

 v. Jones, 852 F.2d 1275, 1277 (10th Cir. 1988). If the Court determines that the alleged error did

 not prejudice defendant, it does not need to consider counsel’s performance. Id.

        A.      Failure To Object To Statutory Sentencing Range (Claim 4)

        Defendant asserts that Kips provided ineffective assistance because he did not argue that the

 Court should have sentenced him under Section 841(b)(1)(B), which provides a statutory range of

 five to 40 years, instead of Section 841(b)(1)(A), which provides a statutory range of ten years to

 life in prison. Motion To Vacate (Doc. #1009) at 12. As with Claim 1, defendant premises this

 claim on his contention that he did not meet the drug quantity threshold for Section 841(b)(1)(A).

 He argues that because neither the Court nor a jury found that his conviction involved five kilograms


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 or more of cocaine or 280 grams or more of cocaine base, Kips should have objected to a sentence

 under Section 841(b)(1)(A).

        Kips did not perform deficiently by failing to object on these grounds. As noted, defendant

 agreed to a plea with a sentencing range of ten years to life and admitted that he violated

 Section 841(b)(1)(A). Transcript Of Change Of Plea Hearing (Doc. #874) at 8-9. In exchange for

 defendant’s plea of guilty to Counts 1, 15 and 16, the government withdrew Section 851 notices

 which established defendant’s prior drug felonies. See id. On the record, the government clarified

 that without the plea, his minimum sentence would be life in prison but that under the plea (and the

 government withdrawal of Section 851 notices), the Court could sentence defendant from ten years

 to life in prison. See id.; see Order (Doc. #567) filed March 3, 2014. Defendant consented to this

 sentencing range. Transcript Of Change Of Plea Hearing (Doc. #874) at 9. If counsel had

 effectively challenged the sentencing range of ten years to life, the government could have reinstated

 its Section 851 notices. Further, as stated above, defendant admitted the crimes charged in the

 indictment which included the necessary quantity of drugs to sustain a conviction under

 Section 841(b)(1)(A)(iii). Id. at 18; see also Second Superseding Indictment (Doc. #429) at 3.

 Defendant has not shown that the Court would have likely sustained an objection to the statutory

 range or that Kips’ failure to object caused prejudice. As noted, a successful objection would have

 allowed the government to reinstate its Section 851 notices, so defendant cannot establish deficient

 performance or prejudice. The Court denies relief on this ground.

        B.      Failure To Communicate Defendant’s Counter-Offer (Claim 5)

        Defendant asserts that Kips provided ineffective assistance because he failed to communicate


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 a counter-offer to the government when negotiating a plea deal. Motion To Vacate (Doc. #1009)

 at 12. During plea negotiations, defendant alleges that he told Kips to offer the government a deal

 for 12 years, and Kips failed to relay his message to government counsel. Id.

        On February 3, 2014 – the same day defendant pled guilty – Kips summarized defendant’s

 plea negotiations on the record. Transcript Of Motions Hearing (Doc. #1021-3) at 26. Kips stated

 that the government initially offered a plea for 15 years, which defendant rejected because he wanted

 a Rule 11(c)(1)(c), Fed. R. Civ. P., plea for ten years. Id. at 27. Kips notified the government of

 defendant’s counter-offer, and the government rejected it. Id.; see also Kips’s email to government

 counsel (Doc. #1021-1) at 8. The government then offered a plea for ten to 20 years, which

 defendant rejected. Transcript Of Motions Hearing (Doc. #1021-3) at 27. Defendant countered

 with an offer of ten to 15 years. Id. Again, the government rejected defendant’s counter-offer and

 asked for a plea of 15 to 25 years or, in the alternative, a Rule 11(c)(1)(c) plea for 20 years. Id.

 Defendant rejected the government’s final offer. After Kips provided the foregoing account of plea

 negotiations, defendant stated that he agreed with the summary and that the plea discussions were

 communicated to him. Id. at 28. Further, at his plea hearing, defendant stated that he was satisfied

 with Kips’ representation and advice. Transcript Of Change Of Plea Hearing (Doc. #874) at 6.

        Defendant’s current contention that Kips failed to communicate a counter-offer is

 inconsistent with statements he made on the record. Defendant does not support his conclusory

 allegations with any details, such as dates or points in negotiations when he told Kips to make the

 offer. Also, defendant has not established prejudice, i.e. that the government would have accepted

 his counter-offer. In fact, the government summarily rejected all of defendant’s other counter-offers.


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 See Transcript Of Motions Hearing (Doc. #1021-3) at 26-28. Because defendant fails to show how

 his counter-offer would have materially impacted the plea negotiations or the outcome of his

 proceedings, he cannot prove that counsel performed deficiently or that his alleged error resulted

 in prejudice. Thus, the Court denies relief on this ground.

        C.      Lied To Defendant’s Family (Claim 6)

        Defendant argues that Kips provided ineffective assistance because he lied to his family

 about the sentence the Court would impose. Motion To Vacate (Doc. #1009) at 12. Defendant’s

 conclusory allegation lacks details such as what Kips told his family and when counsel made the

 alleged misrepresentation. Defendant also fails to explain how he relied on Kips’ statement to his

 family or how the alleged statement had any effect on the outcome of the proceedings. Accordingly,

 defendant has not shown prejudice. Strickland, 466 U.S. at 687, 694. The Court denies relief on

 this ground.

        D.      Failure To Investigate Defendant’s Competency (Claim 7)

        Defendant asserts that Kips provided ineffective assistance because he failed to investigate

 defendant’s competency before he agreed to plead guilty. Defendant fails to supply any evidence

 that suggests counsel should have suspected he was incompetent. The Tenth Circuit has stated that

 defense counsel has a duty to investigate competency when he has “good faith doubt as to the

 defendant’s competence.” United States v. Boigegrain, 155 F.3d 1181, 1188 (10th Cir. 1998)

 (citations omitted). Defendant does not establish that Kips should have had any doubt concerning

 his competency and thus fails to demonstrate that Kips performed deficiently.




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        Further, defendant must establish prejudice, or “a reasonable probability that he was

 incompetent.” Williamson v. Ward, 110 F.3d 1508, 1519 (10th Cir. 1997) (citations omitted); see

 also United States v. Grist, 299 F. App’x 770, 779 (10th Cir. 2008). Defendant fails to make this

 showing. At his plea hearing, the Court questioned defendant to determine his competency.

 Transcript Of Change Of Plea Hearing (Doc. #874) at 4-5. Defendant disclosed that he received

 medical treatment for a mental disability when he was a child but confirmed that he was competent

 at the time of the plea. Id. at 4. More specifically, defendant stated as follows:

        THE COURT: So do you think that you’re mentally competent right now?

        THE DEFENDANT: I’m fine.

        THE COURT: And what about between January 1 of 2006 and December 4, 2012,
        the time of the crimes that you’re pleading guilty to? Were you mentally competent
        then?

        THE DEFENDANT: Yes.

        THE COURT: And is there anybody you know of that might disagree with you
        about that?

        THE DEFENDANT: No.

        THE COURT: And same as far as the current date. You don’t know of any reason
        why somebody might think you’re [not] mentally competent?

        THE DEFENDANT: No.

 Id. at 4-5. Because the Court found that defendant was competent at the time of his plea and

 defendant does not allege sufficient facts to refute this finding, he cannot prove prejudice. Thus, the

 Court denies relief on this ground.




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                                               Conclusion

           The files and records in this case conclusively show that defendant is not entitled to relief.

 Moreover, defendant does not allege specific and particularized facts which, if true, would entitle

 him to relief. Accordingly, no evidentiary hearing is required. See 28 U.S.C. § 2255; United States

 v. Cervini, 379 F.3d 987, 994 (10th Cir. 2004) (standard for evidentiary hearing higher than notice

 pleading); United States v. Kilpatrick, 124 F.3d 218 (Table), 1997 WL 537866, at *3

 (10th Cir. 1997) (conclusory allegations do not warrant hearing); United States v. Marr,

 856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing required where court may resolve factual matters

 raised by Section 2255 petition on record); United States v. Barboa, 777 F.2d 1420, 1422-23

 (10th Cir. 1985) (hearing not required unless “petitioner’s allegations, if proved, would entitle him

 to relief” and allegations are not contravened by record).

                                      Certificate Of Appealability

           Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

 deny a certificate of appealability when it enters a final order adverse to the applicant. A certificate

 of appealability may issue only if the applicant has made a substantial showing of the denial of a

 constitutional right. 28 U.S.C. § 2253(c)(2).2 To satisfy this standard, the movant must demonstrate

 that “reasonable jurists would find the district court’s assessment of the constitutional claims

 debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v.

 Dretke, 542 U.S. 274, 282 (2004)). For reasons stated above, the Court finds that defendant has not

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                The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1);
28 U.S.C. § 2253(c)(1).

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 satisfied this standard. The Court therefore denies a certificate of appealability as to its ruling on

 defendant’s Section 2255 motion.

        IT IS THEREFORE ORDERED that defendant’s Motion To Vacate Under

 28 U.S.C. § 2255 (Doc. #1009) filed March 16, 2017 is OVERRULED.

        IT IS FURTHER ORDERED that a certificate of appealability as to the ruling on

 defendant’s Section 2255 motion is DENIED.

        Dated this 30th day of October, 2017 at Kansas City, Kansas.


                                                s/ Kathryn H. Vratil
                                                KATHRYN H. VRATIL
                                                United States District Judge




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